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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

IN RE: ALEXANDER E. JONES                             §
                                                      §   CASE NO. 22-33553 (CML)
                                                      §
                     Debtor.                          §   Chapter 7


                            PLAINTIFFS’ EXHIBIT AND WITNESS LIST

            Alexander E. Jones (“Jones”) files this Witness and Exhibit List for the hearing to be held

on Monday, December 9, 2024, at 2:00 p.m. (prevailing Central Time) before the Honorable

Christopher Lopez at the United States Bankruptcy Court for the Southern District of Texas,

Courtroom 401, 515 Rusk Street, Houston, Texas 77002.

                                               EXHIBITS

 No.          Description                          Offered     Objection Admitted/Not        Disposition
                                                                         Admitted
       1.     Order Granting Trustee’s Motion
              for Entry of an Order
              Authorizing the Winddown of
              FSS [Dkt #859]
              (Murray Depo Exhibit 1)
       2.     Notice of Successful Bidder and
              Backup Bidder in the Auction for
              the Assets of FSS [Dkt #903]
              (Murray Depo Exhibit 2)
       3.     FUAC’s Initial Bid Form [Dkt
              #915-3]
              (Murray Depo Exhibit 3)
       4.     Onion Initial Bid [Dkt #915-4
              and 915-5]
              (Murray Depo Exhibit 4)
       5.     11/11/24 Email from Jeff
              Tanenbaum to Murray re: Notice
              re: FSS Overbid Process
              (Murray Depo Exhibit 5)
       6.     New Overbid Form
              (Murray Depo Exhibit 6)
       7.     FUAC’s Bid [Dkt #915-6]
              (Murray Depo Exhibit 7)

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No.         Description                        Offered     Objection Admitted/Not      Disposition
                                                                     Admitted
      8.  Onion Bid [Dkt #915-7]
          (Murray Depo Exhibit 8)
      9. Sealed Bid Package [Dkt #915-2]
          (Murray Depo Exhibit 9)
      10. Asset Purchase Agreement [Dkt
          #915-1]
          (Murray Depo Exhibit 10)
      11. PQPR POC #11
          (Murray Depo Exhibit 11)
      12. Debtor’s Consolidated Objection
          to POF of Connecticut Plaintiffs
          [Dkt #705]
          (Murray Depo Exhibit 12)
      13. Connecticut Plaintiffs’
          Opposition to Jones Claim
          Objection [Dkt #812]
          (Murray Depo Exhibit 13)
      14. GT Initial Bid [Dkt #915-5]
      15. Trustee’s Motion for Entry of an
          Order Authorizing the
          Winddown of FSS [Dkt #829]
      16. Notice of Auction for the Sale of
          Assets of FSS [Dkt #862]
          Any pleading or other document
          filed with the Court on the docket
          of the above-captioned chapter 7
          case
          Any exhibit necessary to rebut
          the evidence or testimony of any
          witness offered or designated by
          any other party
          Any exhibit listed by any other
          party
                                          WITNESSES

           1. Christopher R. Murray, Trustee for Alexander E. Jones bankruptcy case.

           2. Jeff Tanenbaum

           3. Corporate Representative for Global Tetrahedron, LLC.

           4. Walter J. Cicack

           5. Bob Schliezer


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       6. Any witness and rebuttal witnesses listed by any other party.

       Jones Parties reserve the right to amend and/or supplement this Witness and Exhibit List

as necessary in advance of the Hearing. Jones Parties also reserve the right to use any exhibits

presented by any other party and to ask the Court to take judicial notice of any document. Finally,

Jones Parties reserve the right to introduce any previously admitted exhibit.

Dated: December 5, 2024
                                             /s/ Shelby A. Jordan
                                             SHELBY A. JORDAN
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                                             S.D. No. 2195
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                                CERTIFICATE OF SERVICE




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I hereby certify that a true and correct copy of the foregoing pleading was served upon all parties
registered to receive notices via the Court’s ECF noticing system on December 5, 2024 as well as
the following parties.

                                             /s/ Shelby A. Jordan
                                             Shelby A. Jordan




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